Case 2:19-cv-00104-WCB Document 12 Filed 06/13/19 Page 1 of 1 PageID #: 230



                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION


JOHN VAN STRY,                                   §
                                                 §
        Plaintiff,                               §
                                                 §
        v.                                       §
                                                 §
                                                            Case No. 2:19-CV-00104-WCB
TRAVIS ROBERT McCREA AND                         §
FRANCISCO HUMBERTO DIAS, DOING                   §
BUSINESS AS “FRANTECH                            §
SOLUTIONS,”

        Defendants.


                                    ORDER OF DISMISSAL

       Before the Court is a Notice of Dismissal of Defendant Francisco Humberto Dias, doing

business as “Frantech Solutions.” Dkt. No. 10. Although court action is not necessary for a

dismissal in a case such as this one, where the dismissal notice is filed before the opposing party

has filed either an answer or a motion for summary judgment, see Fed. R. Civ. P. 41(a)(1)(A)(i),

the Court will enter this order of dismissal to remove all doubt on that score.

       Accordingly, the action against defendant Francisco Humberto Dias, doing business as

“Frantech Solutions,” is dismissed without prejudice as to all claims and causes of action asserted

against Mr. Dias. Each party will bear its own costs in this matter.

       IT IS SO ORDERED.

       SIGNED this 13th day of June, 2019.




                                              _____________________________
                                              WILLIAM C. BRYSON
                                              UNITED STATES CIRCUIT JUDGE
